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                                        No.19‑394C

                                 (Filed:September 25,2019)


 DONALD MOSS,
                      Plainti二


 V.


 THE■INITED STATES,

                      Defendant.



                                   DISMISSAL ORDER

        Plaintiff s response to defendant's motion to dismiss, see ECF No. 5, was
originally due June 6,2019. The court, acting sua sponte, extended that deadline to July
26,2019. See ECF No. 6. When that deadline, too, was missed, the court issued a show
cause order. See ECF No. 7. Plaintiff s response to the show cause order was due by
August 30,2019. Id. As of the date of this order, no filing has been received from
plaintiff.

       Accordingly, the clerk's office is directed to DISMISS this suit for failure to
prosecute, pursuant to RCFC 4l(b), with prejudice.

       IT IS SO ORDERED.




                                            ATRICIA E.CAMPB
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